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 5   Attorney for Defendant
     Nicholas Ramirez
 6
                      IN THE UNITED STATES DISTRICT COURT
 7
                 IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,         )   Case No. Cr.S 11-190 MCE
10                                     )
                 Plaintiff,            )   STIPULATION TO CONTINUE
11                                     )   STATUS
         vs.                           )
12                                     )   ORDER
     NICHOLAS RAMIREZ,                 )
13   TIFFANY BROWN                     )
                                       )
14               Defendant             )
                                       )
15

16                                 STIPULATION
17       Plaintiff United States of America, by and through its
18
     counsel of record, and the defendant’s herein, by and through
19
     their counsel of record, hereby stipulates as follows:
20
         By previous order, this matter was set for status on March
21
     17, 2016.
22
         By this stipulation, defendants now move to continue the
23
     status conference until June 23, 2016, and to exclude time
24
     between March 17, 2016, and June 23, 2016 under Local Code T4.
25
     Plaintiff agrees with this request.


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 1       Counsel for defendants desire additional time to review
 2   documents and to consult with their clients in efforts to
 3
     resolve this case.
 4
         The government does not object to the continuance.
 5
         Based on the above-stated findings, the ends of justice
 6
     served by continuing the case as requested outweigh the interest
 7
     of the public and the defendant in a trial within the original
 8
     date prescribed by the Speedy Trial Act.
 9
         For the purpose of computing time under the Speedy Trial
10
     Act, 18 U.S.C. § 3161, et seq., within which trial must
11

12
     commence, the time period of March 17, 2016, to June 23, 2016,

13   inclusive, is deemed excludable pursuant to 18 U.S.C.§

14   3161(h)(7)(A), B(iv) [Local Code T4] because it results from a

15   continuance granted by the Court at defendant’s request on the

16   basis of the Court's finding that the ends of justice served by
17   taking such action outweigh the best interest of the public and
18
     the defendant in a speedy trial pursuant to 18 U.S.C. § 3161(h).
19

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 1       Nothing in this stipulation and order shall preclude a
 2   finding that other provisions of the Speedy Trial Act dictate
 3
     that additional time periods are excludable from the period
 4
     within which a trial must commence.
 5

 6
     DATED: February 25, 2016                 Respectfully submitted
 7

 8
                                              /S/MICHAEL B. BIGELOW
 9                                            Michael B. Bigelow
                                              Attorney for Nicholas Ramirez
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 1
     IT IS SO STIPULATED
 2

 3
     /S/ JASON HITT
     Jason Hitt, Esq.,                               Dated: February 25, 2016
 4
     Assistant United States Attorney
 5   Attorney for Plaintiff

 6

 7   /S/MICHAEL B. BIGELOW                           Dated: February 25, 2016
     Michael B. Bigelow
 8   Attorney for Defendant
     Nicholas Ramirez
 9
     /s/Dina Santos
10   Dina Santos,                                    Dated: February 25, 2016
     Attorney for
11
     Tiffany Brown
12
                                           ORDER
13
         Pursuant to the parties’ stipulation, the above referenced
14
     matter shall be continued until June 23, 9:00 AM, and time
15
     excluded for the reasons set forth above.           The Court
16
     specifically finds that the ends of justice served by continuing
17
     the case as requested outweigh the interest of the public and
18
     the defendant in a trial within the original date prescribed by
19
     the Speedy Trial Act.
20
         IT IS SO ORDERED.
21
     Dated:     March 3, 2016
22

23

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